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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

TINA GOSS,                                       *

       Plaintiff,                                *

v.                                               *          Civil Action No. EA-24-406

THE UNITED STATES OF AMERICA,                    *

       Defendant.                                *

                                 MEMORANDUM OPINION

       Plaintiff Tina Goss initiated the above-captioned action on February 9, 2024, filing suit

individually and as the representative of the estate of her daughter, United States Navy (Navy)

Petty Officer Tiara Marie Gray. ECF No. 1. Ms. Goss alleges a violation of the Federal Tort

Claims Act, 28 U.S.C. § 2671 et seq.; and violations of 42 U.S.C. § 1983 and the Administrative

Procedure Act, 5 U.S.C. § 701 et seq., related to the adjudication and review of Ms. Goss’s

administrative claim. ECF Nos. 1 at 4; 1-1 ¶¶ 14–15.1 Pending before the Court is Defendant

United States of America’s Motion to Dismiss. ECF No. 13. Ms. Goss, who is self-represented,

has not filed an opposition. No hearing is necessary. Local Rule 105.6 (D. Md. 2023). For the

reasons set forth below, the United States’ motion is granted because the Court lacks subject

matter jurisdiction to hear Ms. Goss’s claims.

I.     Background2

       Petty Officer Gray joined the Navy in 2015. ECF No. 1-6 at 4. In the summer or fall of

2017 Petty Officer Gray voluntarily admitted herself into a Navy hospital because of suicidal


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          Page numbers refer to the pagination of the Court’s Case Management/Electronic Case
Files system (CM/ECF) printed at the top of the cited document.
       2
         This factual summary is drawn from the allegations in the Complaint (ECF Nos. 1, 1-
1), which are accepted as true for the purposes of deciding this motion. E.I. du Pont de Nemours
& Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011) (Fed. R. Civ. P. 12(b)(6) motion);
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thoughts. Id. at 5. Petty Officer Gray was discharged after 35 days of inpatient treatment “with

little improvement.” Id. Petty Officer Gray continued to have “chronic suicidal ideation” and

her “chances for relapse were high.” Id. Petty Officer Gray was “prescribed a very intense

treatment plan to be followed for one year,” but the treatment plan was not followed. Id. In

March 2018, Petty Officer Gray “was put on board of the USS Essex without access to the

prescribed treatment plan or support for her in the event of suicidal thoughts.” Id. On April 2,

2018, Petty Officer Gray died by suicide while aboard the USS Essex.3 Id. at 4–5.

       When Ms. Goss sought to obtain additional information about her daughter’s death, the

Navy instructed her to submit a Freedom of Information Act request. Id. at 5. The request was

referred to the Naval Criminal Investigative Service, which informed Ms. Goss that her request

was denied due to the pendency of an investigation into Petty Officer Goss’s death. Id. at 6.

Over two years later, Ms. Goss still had not received the requested medical and personnel

records of the results of the investigation. Id.

       In 2020, Ms. Goss filed an administrative claim with the Navy, seeking damages for the

alleged medical malpractice that led to Petty Officer Gray’s wrongful death. ECF No. 1-6. In

2022, the Navy made an initial determination that Ms. Goss’s “claim fail[ed] to state a claim

cognizable under 10 U.S.C. § 2733a and its implementing regulation.” ECF No. 1-8 at 1. The


Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009) (Fed. R. Civ. P. 12(b)(1) motion). The
factual summary also incorporates information from exhibits to Ms. Goss’s Complaint, including
Exhibit A (administrative claim), ECF No. 1-6; Exhibit C (initial determination), ECF No. 1-8;
Exhibit D (administrative appeal), ECF No. 1-9; and Exhibit F (final determination), ECF No. 1-
11. Fed. R. Civ. P. 10(c) (“A copy of a written instrument that is an exhibit to a pleading is a
part of the pleading for all purposes.”); Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 166-167
(4th Cir. 2016); see also infra pp. 4–5.
       3
          Additional details concerning Petty Officer Gray’s health conditions and medical
treatment are outlined in the medical records and the expert report attached to Ms. Goss
Complaint. ECF Nos. 1-6 at 9–17; 1-9 at 9–28; 1-10. This personal information has been
omitted from the factual summary because it does not bear on the legal issues presented for the
Court’s resolution.

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Navy further advised Ms. Goss that its “investigation determined that the standard of care was

met.” Id. Ms. Goss appealed this decision. ECF No. 1-9. In 2023, the Miliary Medical

Malpractice Claims Appeals Board found that the Navy had properly denied Ms. Goss’s claim

“on the basis that the standard of care was met.” ECF No. 1-11 at 1.

       Thereafter, Ms. Goss filed the instant action in which she alleges a violation of the

Federal Tort Claims Act (FTCA) based on the Navy’s alleged negligence and medical

malpractice in connection with Petty Officer Gray’s treatment, which resulted in her wrongful

death. ECF Nos. 1 at 4–5; 1-1 at 2–3. Ms. Goss also challenges the manner in which her

administrative claim was adjudicated and reviewed, which she argues violates 42 U.S.C. § 1983

and the Administrative Procedure Act (APA). ECF No. 1-1 at 2–6

II.    Discussion

       The United States moves to dismiss the Complaint pursuant to Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6). Because the United States correctly argues that this Court

lacks subject matter jurisdiction to hear Ms. Goss’s claims, it is unnecessary to reach its

alternative argument that Ms. Goss’s Complaint fails to state a claim upon which relief may be

granted.

       A.      Standard of Review

       “Federal courts are courts of limited jurisdiction” that “possess only that power

authorized by Constitution and statute . . . , which is not to be expanded by judicial decree.”

Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (internal citations

omitted); see also Strawn v. AT & T Mobility LLC, 530 F.3d 293, 296 (4th Cir. 2008) (“We

begin with the undergirding principle that federal courts, unlike most state courts, are courts of

limited jurisdiction, created by Congress with specified jurisdictional requirements and

limitations.”). Therefore, “if Congress has not empowered the federal judiciary to hear a matter,


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then the case must be dismissed.” Home Buyers Warranty Corp. v. Hanna, 750 F.3d 427, 432

(4th Cir. 2014); see also Fed. R. Civ. P. 12(h)(3) (“If the court determines at any time that it

lacks subject-matter jurisdiction, the court must dismiss the action.”). The limited jurisdiction of

federal courts places the burden on the party asserting a claim to allege—and, when challenged,

establish—the court’s subject matter jurisdiction over the pending claim. Home Buyers

Warranty Corp. 750 F.3d at 432.

       Federal Rule of Civil Procedure 12(b)(1) provides that a party may move to dismiss a

claim for lack of subject matter jurisdiction. Fed. R. Civ. P. 12(b)(1). There are two types of

subject matter jurisdiction challenges, those that “attack the complaint on its face” and those that

“attack the existence of subject matter jurisdiction in fact.” Mortensen v. First Fed. Sav. & Loan

Ass’n, 549 F.2d 884, 891 (3d Cir. 1977). When presented with a facial challenge, “the facts

alleged in the complaint are taken as true, and the motion must be denied if the complaint alleges

sufficient facts to invoke subject matter jurisdiction.” Kerns v. United States, 585 F.3d 187, 192

(4th Cir. 2009). Thus, the plaintiff that faces a facial challenge to subject matter jurisdiction “is

afforded the same procedural protection as . . . under a Rule 12(b)(6) consideration.” Adams v.

Bain, 697 F.2d 1213, 1219 (4th Cir. 1982). A factual challenge, however, permits the court to

“go beyond the allegations of the complaint and in an evidentiary hearing determine if there are

facts to support the jurisdictional allegations.” Id.

       Here, the United States has raised a facial challenge to subject matter jurisdiction. ECF

No. 13-1 at 8. Accordingly, the Court assesses the sufficiency of the allegations in the

Complaint, which are presumed to be true. When deciding the pending motion, the Court may

consider documents attached to the complaint. Verizon Maryland, Inc. v. Global NAPS, Inc.,

377 F.3d 355, 363 (4th Cir. 2004) (utilizing document attached to complaint to assess court’s

subject matter jurisdiction because document was “part of that pleading” under Fed. R. Civ. P.


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10(c)); Jake’s Fireworks Inc. v. United States Consumer Prod. Safety Comm’n, 498 F. Supp. 3d

792, 801 (D. Md. 2020) (same).

       B.       Subject Matter Jurisdiction

       The United States argues that sovereign immunity divests the Court of subject matter

jurisdiction because (1) the doctrine set forth in Feres v. United States, 340 U.S. 135 (1950), bars

Ms. Goss’s FTCA claim; (2) there is no waiver of sovereign immunity for official capacity

claims under 42 U.S.C. § 1983; and (3) the Military Claims Act (MCA) does not authorize

judicial review of administrative claims that do not raise a constitutional violation or create an

independent cause of action, thus negating Ms. Goss’s APA claim. ECF No. 13-1 at 3–4. Each

of these arguments is addressed in turn below.

                1.     FTCA Claim and the Feres Doctrine

       “Under settled principles of sovereign immunity, the United States, as sovereign, is

immune from suit, save as it consents to be sued.” United States v. Dalm, 494 U.S. 596, 608

(1990) (internal quotation marks and citation omitted); Webb v. United States, 66 F.3d 691, 693

(4th Cir. 1995). A sovereign immunity waiver “must be unequivocally expressed in statutory

text” and it will “be strictly construed, in terms of its scope, in favor of the sovereign.” Lane v.

Pena, 518 U.S. 187, 192 (1996); Welch v. United States, 409 F.3d 646, 650-651 (4th Cir. 2005).

Accordingly, any ambiguities must be construed in favor of immunity and exceptions to the

conditions upon which the United States consents to be sued will not be implied. United States

v. Williams, 514 U.S. 527, 531 (1995); Lehman v. Nakshian, 453 U.S. 156, 161 (1981).

       The FTCA provides, in pertinent part, that the “United States shall be liable . . . in the

same manner and to the same extent as a private individual under like circumstances.” 28 U.S.C.

§ 2674. Thus, the “FTCA effects a limited waiver of the United States’ sovereign immunity for

‘personal injury or death caused by the negligent or wrongful act or omission of any employee of


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the Government while acting within the scope of his office or employment.’” Welch, 409 F.3d at

651 (quoting 28 U.S.C. § 1346(b)(1)). This waiver of sovereign immunity is limited by statutory

and judicially created exceptions, the latter of which is relevant to the case at bar. As the Fourth

Circuit Court of Appeals has explained, “[s]hortly after the Federal Tort Claims Act became law

in 1946, the Supreme Court considered a series of cases in which service members or their

executors sued the United States for injuries sustained ‘due to negligence of others in the armed

forces.’” Clendening v. United States, 19 F.4th 421, 427 (4th Cir. 2021) (quoting Feres, 340

U.S. at 138). The Feres Court “concluded that ‘the Government is not liable under the Federal

Tort Claims Act for injuries to serviceme[mbers] where the injuries arise out of or are in the

course of activity incident to service.’” Id. (quoting Feres, 340 U.S. at 146) (emphasis in

original).

        In subsequent decisions, the Supreme Court has interpreted this language quite broadly

and “emphasized that the paramount goal of the Feres doctrine is to avoid the potential for a

‘civilian court to second-guess military decisions.’” Minns v. United States, 974 F. Supp. 500,

503 (D. Md. 1997), aff’d, 155 F.3d 445 (4th Cir. 1998) (quoting United States v. Shearer, 473

U.S. 52, 57 (1985)); see also Clendening, 19 F.4th. at 427-428. Thus, “the Feres test ‘does not

inquire whether the discrete injuries to the victim were committed in support of the military

mission,’ but instead whether the asserted injuries ‘stem from the relationship between the

plaintiff and the plaintiff’s service in the military.’” Nacke v. United States, 783 Fed. Appx. 277,

281 (4th Cir. 2019) (quoting Cioca v. Rumsfeld, 720 F.3d 505, 515 (4th Cir. 2013)). The Fourth

Circuit has described the coverage of the Feres doctrine as “vast” and noted that the Supreme

Court has broadened it “‘to encompass, at a minimum, all injuries suffered by military personnel

that are even remotely related to the individual’s status as a member of the military.’”

Clendening, 19 F.4th at 428 (quoting Stewart v. United States, 90 F.3d 102, 105 (4th Cir. 1996))


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(emphasis in original). Thus, the doctrine extends beyond suits filed by servicemembers and

encompasses “claims by third parties that have their genesis in an injury to a servicem[ember]

which was incident to [ ] military service,” including “wrongful death suits by family members

on behalf of military personnel.” Minns, 974 F. Supp. at 503.

         Ms. Goss’s FTCA claim falls squarely within the Feres Doctrine exception to FTCA

liability, which encompasses medical malpractice, negligence, and wrongful death claims. E.g.,

Carter v. United States, No. 22-1703, 2024 WL 982282, at *1 (4th Cir. Mar. 7, 2024) (medical

malpractice); Clendening, 19 F.4th. at 425, 428 (wrongful death); Kendrick v. United States, 877

F.2d 1201, 1206 (4th Cir. 1989) (medical negligence). Indeed, the Fourth Circuit has repeatedly

affirmed the applicability of the Feres Doctrine to a very similar fact pattern, holding that

negligence and medical malpractice claims arising from the United States military’s alleged

failure to supervise or adequately treat mentally ill servicemembers who subsequently died by

suicide were barred. Enders v. United States, No. 90-1426, 1991 WL 10080, at *1, 924 F.2d

1051 (Table) (4th Cir. Feb. 4, 1991); Yolken v. United States, 590 F.2d 1303, 1303 (4th Cir.

1979).

         As the Fourth Circuit has repeatedly acknowledged, the Feres Doctrine has been subject

to wide-spread criticism and leads to “undeniably harsh results.” Appelhans v. United States,

877 F.2d 309, 313 (4th Cir. 1989). Yet, the Court of Appeals has also instructed that unless and

until the Supreme Court overrules Feres, lower courts remain bound by the decision and its

progeny. E.g., Clendening, 19 F.4th. at 431; Appelhans, 877 F.2d at 313. Accordingly, this

Court lacks subject matter jurisdiction and Ms. Goss’s FTCA claim must be dismissed.

                2.     42 U.S.C. § 1983

         Section 1983 imposes liability on a person who deprives any other person of any right,

privilege, or immunity secured by the Constitution and laws while acting under color of law “of


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any State or Territory or the District of Columbia.” 42 U.S.C. § 1983. Thus, to “state a claim

under § 1983, a plaintiff must allege the violation of a right secured by the Constitution and laws

of the United States, and must show that the alleged deprivation was committed by a person

acting under color of state law.” West v. Atkins, 487 U.S. 42, 48 (1988). This statute “is of only

limited scope” and “does not reach . . . actions of the Federal Government.” District of

Columbia v. Carter, 409 U.S. 418, 424 (1973); see also Owens v. Clark, No. 87-7365, 1988 WL

21260, at *1, 842 F.2d 1291 (Table) (4th Cir. March 7, 1988) (“The defendants in this case are

all federal employees and as such may not be sued under § 1983.”); Curtis v. Pracht, 202 F.

Supp. 2d 406, 418 (D. Md. 2002) (“Section 1983 . . . has no application to the federal

government or its officers.”). As these cases make clear, to the extent Ms. Goss’s claim

regarding the adjudication and review of her administrative claim is premised on Section 1983, it

fails because the statute does not encompass actions of the federal government or its officers.

       Section 1983 was initially enacted in 1871 and for the following 100 years, “Congress

did not provide a specific damages remedy for plaintiffs whose constitutional rights were

violated by agents of the Federal Government.” Ziglar v. Abbasi, 582 U.S. 120, 130-131 (2017).

In 1971, the Supreme Court decided Bivens v. Six Unknown Named Agents of Fed. Bureau of

Narcotics, 403 U.S. 388 (1971), which, together with two subsequent decisions, recognized an

implied cause of action to remedy certain constitutional violations by federal officials.4 Id. at

131-132. Liability under Bivens does not, however, extend to a federal agency. Federal Deposit

Ins. Corp. v. Meyer, 510 U.S. 471, 486 (1994) (rejecting an extension of Bivens liability from

federal agents to federal agencies). The Supreme Court has explained that permitting recovery

against a federal agency would undermine the purpose of Bivens, which “is to deter the officer,”



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         See also Carlson v. Green, 446 U.S. 14, 17-19 (1980); Davis v. Passman, 442 U.S.
228, 248-249 (1979).

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and would implicate “federal fiscal policy,” something that is better suited for Congress. Id. at

485-486 (emphasis in original).

       Moreover, the exception to FTCA liability established by the Feres Doctrine extends to

Bivens claims and therefore “no Bivens remedy is available for injuries that ‘arise out of or are in

the course of activity incident to service.’” United States v. Stanley, 483 U.S. 669, 684 (1987)

(quoting Feres, 340 U.S. at 146); see also Aikens v. Ingram, 811 F.3d 643, 648-649 (4th Cir.

2016), as amended (Feb. 1, 2016) (noting the extension of the Feres Doctrine from the FTCA to

other claims against federal officials, including Bivens actions). Thus, the outcome remains the

same even if the Court were to liberally construe Ms. Goss’s Complaint as alleging a Bivens

claim in lieu of a Section 1983 claim. See, e.g., Snowden v. United States Dep’t of Veterans

Affs., Civil Action No. GLR-20-2913, 2021 WL 4750517, at *4 (D. Md. Oct. 8, 2021).

               3.      The APA and the Military Claims Act

       The APA provides, in pertinent part, that any “person suffering legal wrong because of

agency action, or adversely affected or aggrieved by agency action within the meaning of a

relevant statute, is entitled to judicial review thereof.” 5 U.S.C. § 702. The judicial review

afforded by the APA does not apply where “(1) statutes preclude judicial review; or (2) agency

action is committed to agency discretion by law.” 5 U.S.C. § 701(a)(1)-(2).

       The Military Claims Act (MCA), 10 U.S.C. § 2731 et seq., vests the secretaries of

military departments with the authority to, among other things, settle claims against the United

States for personal injury or death and medical malpractice. 10 U.S.C. §§ 2733(a)(3), 2733a(a);

Minns, 974 F. Supp. at 507. The term “settle” is defined to include disposal of a claim, including

by disallowance. 10 U.S.C. § 2731 (defining “settle” as meaning “consider, ascertain, adjust,

determine, and dispose of a claim, whether by full or partial allowance or by disallowance”).

Excluded from the MCA’s ambit are claims “for personal injury or death of such a member or


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civilian officer or employee whose injury or death is incident to his service.” 10 U.S.C.

§ 2733(b)(3).

       The MCA further provides that “[n]otwithstanding any other provision of law, the

settlement of a claim under section 2733 [and] 2733a . . . is final and conclusive.” 10 U.S.C.

§ 2735. The Fourth Circuit has held that this statutory language vests “final discretion over

military claims with the military and not with the courts.” Minns v. United States, 155 F.3d 445,

453 (4th Cir. 1998). Accordingly, “judicial review of a denial of a claim under the MCA is

barred” in all cases except where a plaintiff alleges a constitutional violation or that the agency

exceeded the scope of its authority or violated a clear statutory mandate. Duncan v. West, No.

97-1876, 1998 WL 387191, at *2-3, 153 F.3d 719 (Table) (4th Cir. June 24, 1998) (Duncan II);

see also Carter v. United States, Civil Action No. ELH-21-1315, 2022 WL 1642260, at *23 (D.

Md. May 24, 2022), aff’d, No. 22-1703, 2024 WL 982282 (4th Cir. Mar. 7, 2024); Duncan v.

West, 965 F. Supp. 796, 800-801 (E.D. Va. 1997), aff’d, 153 F.3d 719 (Table) (4th Cir. June 24,

1998) (Duncan I). Thus, in the ordinary case, judicial review of the Secretary of Defense’s

action on a claim is unavailable under the APA. Duncan II, 153 F.3d 719, 1998 WL 387191, at

*2. Various Circuit Courts of Appeals have recognized “‘that the administrative claims

procedure is an appropriate balance between individual rights and Congress’ desire to avoid the

disruptive effect that judicial review may have on the prompt and authoritative administrative

settlement of claims against the military.’” Schneider v. United States, 27 F.3d 1327, 1332 (8th

Cir. 1994) (quoting Heller v. United States, 776 F.2d 92, 98 (3d Cir. 1985)) (collecting cases).

       In this action, Ms. Goss challenges the adjudication and review of her administrative

claim with the Navy, but her allegations do not fall into the narrow exceptions for judicial

review. Ms. Goss does not allege that the Navy exceeded its authority or violated a clear

statutory mandate. Instead, she asserts that the government’s denial was so “perfunctory” as to


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be “devoid of due process.” ECF No. 1-1 at 5. Courts have found similar arguments

unpersuasive. E.g., Petitfrere v. Austin, Civil Action No. 1:22-CV-1819-RCL, 2023 WL

5348748, at *4 (D.D.C. Aug. 21, 2023), dismissed sub nom., No. 23-5195, 2024 WL 1223518

(D.C. Cir. Mar. 18, 2024) (concluding that the Department of Defense’s “formulaic, boilerplate

explanations” for the denial of the servicemember’s administrative claim did not violate due

process). As the Fourth Circuit has held, there is no due process violation where a claimant

“received notice of the reasons for the denial” and “made use of the opportunity for review by

the Secretary by submitting extensive argument, expert opinion and other materials.” Duncan II,

153 F.3d 719, 1998 WL 387191, at *3; accord Hata v. United States, 23 F.3d 230, 234 (9th Cir.

1994); Tyree v. United States, Civil Action No. 5:07-CV-144, 2009 WL 10677427, at *5 (E.D.

Tex. Aug. 10, 2009); MacCaskill v. United States, 834 F. Supp. 14, 18 (D.D.C. 1993), aff’d, 24

F.3d 1464 (D.C. Cir. 1994). In essence, Ms. Goss invites this Court to substitute its judgment for

that of the Secretary, which is foreclosed by statute and precedent.

       III.    Conclusion

       For the foregoing reasons, the United States’ Motion to Dismiss (ECF No. 13) is granted.

A separate Order follows.


Date: September 10, 2024                                               /s/
                                                     Erin Aslan
                                                     United States Magistrate Judge




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